EXHIBIT 2
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION




MOBILITY WORKX, LLC,


          Plaintiff,


     v.
                                               JURY TRIAL DEMANDED

CELLCO PARTNERSHIP D/B/A/
VERIZON WIRELESS, INC.,


          Defendant.




                             UPDATED EXPERT REPORT

                               By Dr. Sukumaran Nair
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           •   Real-World devices, protocols, and tools can be used in the invention

64.    In my opinion, there were no viable alternatives to the patented invention in the ’330

Patent at the time that Verizon could have implemented during the 2010-2019 timeframe.

65.    The unavailability of alternatives, which provided the same or similar emulation

functionality and benefits, as does the ’330 Patent at the time of Verizon’s first infringement, has

become even more pronounced with the increased sophistication of mobile phones.

66.    The increased complexity of mobile devices and applications (e.g. 4G, MIMO, 5G,

Mobile Applications, VoLTE) require advanced testing tool like the ’330 Patented invention.

67.    The patent covers the emulation of the entire mobile communications network (packet-

based), including real time emulation of mobility within such network, and the only alternative

for testing and development of mobile phones would be to use a non-emulated manual approach.

68.    Before the ’330 Patented invention came to be, a company like Verizon would have no

choice but to test and design its mobile phones through a time-consuming, difficult to reproduce,

inaccurate, and expensive manual method, often called a “Drive Test.”

69.    In the case of Verizon Network, Verizon ran the “Can you hear me now?” commercial

for over a decade, that symbolizes and interprets the true nature of “Drive Testing.”




                                                                                                 18
112.   However, using a conductive test is equivalent to a wireless test as both achieve the same

end goal of controlling attenuation, and Signal to Noise Ratio. 17




113.   Further, Verizon does radiated tests. Radiated means without wires or cables, and

conductive is taking the wireless signal as close as possible to the phone’s antenna or antenna(s).

In radiated tests, the last portion of connectivity is wireless in nature thus satisfying the court

definition of wireless network node.18




114.   I interpret the Court’s definition of “wireless” to mean that the communication path that

is “wireless” must be without wires and through air, and not to mean that there can be absolutely

no wires or circuits anywhere in the accused system.

115.   Therefore, Verizon clarifies to their vendors the following statement19:



17
   MWVZ00002050.
18
   MWVZ00000139.
19
   MWVZ00000315.
                                                                                                      45
217.   This is clear from the Mobile IPv4 and Mobile IPv6 perspective a visited network is a

network other than the home network.

218.   A visited network or a foreign network, in Mobile IPv4 adheres to the definition “A

foreign network is the network in which a mobile node is operating when away from its home

network.” (RFC 2002, IP Mobility Support, Pg. 6.)

219.   In general, when a mobile phone moves away from its home network and away from the

home agent’s local network, it will be in a foreign network or visited network.

220.   Roaming also involves visiting a foreign network. When you roam you travel to a visited

network but the same is true when you move to a new eNodeB because the IP address from the

eNodeB and S-GW are different from the PDN Gateway that is the UE’s home agent. Further, in

LTE, a GPRS Tunnel Protocol (“GTP”) tunnel is required to communicate between the PDN

Gateway and S-GW, and from the S-GW to the eNodeB, as well as in the opposite direction.

221.   In general, a UE connected to any eNodeB will require a GTP Tunnel to send and receive

IP Packets from the PDN Gateway.




                                                                                               93
                        Figure 26. Tunnels between P-GW, S-GW, and eNodeB (eNB)

222.   As shown in Figure 26, a tunnel is created between a P-GW and the S-GW

          a. The S1-U interface is a tunnel between the eNB and S-GW. The tunnel is created

              with IP packets within UDP and GTP-U protocol from one IP Address to another

              IP Address.

          b. The SS interface that connects the PDN-GW with the S-GW uses the SS interface,

              and a similar tunnel between them is created.

          c. Once the IP and payload (IP datagram) or IP packet arrives to the P-GW it is

              decapsulated and sent over the internet now with the home address that is

              recognized by that P-GW.

          d. For the Internet, the UE is right behind the P-GW. Hence a public IP address

              could be assigned to a UE. Alternatively, a Private IP based on NAT (Network




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                   Address Translation) could be assigned to a UE if a private IP Address was

                   assigned to the PDN-GW network (or P-GW element).

223.        Therefore, a Foreign Agent is satisfied by a Target eNodeB.

       4.      Element 4 Discussion
                   Element 4                                        BASIC OPINION
 a ghost-foreign agent that advertises              A Ghost Foreign Agent is an eNodeB
 messages to one of the mobile nodes                advertising neighbor nodes.
 indicating presence of the ghost-foreign
 agent on behalf of one of the foreign agents
 when the mobile node is located in a
 geographical area Where the
 foreign agent is not physically present; and


224.        This element is satisfied by the X2 and S1-AP handover, as the eNODEB uses the

RRCReconfigirationMessage to broadcast the Target ENodeB’s or Target ENodeB as shown in

Figure 22 and Figure 27, and the list of CellsToAddModList contains the list of neighbor nodes

to monitor by the mobile node.

225.        As shown in the following Figure 27, an RRCConnectionReconfiguration message is

depicted with the list of Cellular networks to measure. This message also functions as a Ghost

Foreign Agent Advertising neighbor nodes.




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